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ATTORNEYS FOR ZIONS FIRST NATIONAL BANK

              IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                          AMARILLO DIVISION
IN RE:                         §
                               §
STRINGER FARMS, INC.           §     CASE NO. 24-20001-11
                               §
DEBTOR                         §

                                      NOTICE OF APPEARANCE AND
                                    DEMAND FOR NOTICES AND PAPERS

          PLEASE TAKE NOTICE that ZIONS FIRST NATIONAL BANK, a party-in-interest in

the above-captioned case, hereby appears by its counsel, Mark J. Petrocchi of Griffith, Jay &

Michel, LLP, pursuant to Section 1109(b) of the Bankruptcy Code and Federal Rule of Bankruptcy

Procedure ("Bankruptcy Rule") 9010(b) and request, pursuant to Bankruptcy Rules 2002, 3017

and 9007 and Sections 342 and 1109(b) of the Bankruptcy Code, that copies of all notices and

pleadings given or filed in this case be given and served upon it at the following address:

                                         Mark J. Petrocchi
                                         State Bar No. 15851750
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          Please take further notice that, pursuant to Section 1109(b) of the Bankruptcy Code, the

foregoing demand includes not only the notices and papers referred to in the Bankruptcy Rules

specified above but also includes, without limitation, any notice, application, complaint, demand,

motion, petition, pleading or request, whether formal or informal, written or oral, and whether

transmitted or conveyed by mail, messenger delivery, telephone, facsimile, telegraph, telex or

otherwise filed or made with regard to the referenced case and proceedings herein.

          This Notice of Appearance and Demand for Notices and Papers shall not be deemed or

construed to be a waiver of the rights of ZIONS FIRST NATIONAL BANK, (i) to have final

orders in noncore matters entered only after de novo review by a District Judge, (ii) to trial by jury

in any proceeding so triable in this case or any case, controversy, or proceeding related to this case,

(iii) to have the District Court withdraw the reference in any matter subject to mandatory or

discretionary withdrawal, or (iv) any other rights, claims, actions, setoffs, or recoupments to which

ZIONS FIRST NATIONAL BANK is or may be entitled, in law or in equity, all of which rights,

claims, actions, defenses, setoffs, and recoupments are expressly reserved.

                                                   Respectfully submitted,

                                                   By: __/s/Mark J. Petrocchi__________
                                                          Mark J. Petrocchi
                                                   State Bar No. 15851750
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                                            CERTIFICATE OF SERVICE

        The undersigned certifies that he caused a true and correct copy of the foregoing document
to be served electronically upon those persons registered on the ECF Filing system of the Court
on this 2nd day of January 2024.


                                                   __/s/Mark J. Petrocchi_______
                                                   Mark J. Petrocchi




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